Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 1 of 70 PageID #: 13360




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

  SALIX PHARMACEUTICALS, LTD.,           )
  SALIX PHARMACEUTICALS, INC.,           )
  BAUSCH HEALTH IRELAND LTD., and        ) Redacted - Public Version
  ALFASIGMA S.P.A.,                      )
                                         )
                Plaintiffs,              )
                                         )
    v.                                   ) C.A. No. 20-430-RGA
                                         )
  NORWICH PHARMACEUTICALS, INC.,         )
                                         )
                Defendant.               )


               LETTER TO THE HONORABLE RICHARD G. ANDREWS
                        FROM EMILY S. DIBENEDETTO

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  Dated: August 19, 2022
Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 2 of 70 PageID #: 13361




 Dear Judge Andrews:
         We write on behalf of Defendant Norwich Pharmaceuticals, Inc. (“Norwich”) to
 respectfully request an order authorizing Norwich to redact-in-part two sentences from the parties’
 August 3, 2022 Joint Letter Regarding Proposed Form of Judgment (D.I. 190) (“Joint Letter”).
 Norwich’s proposal (Ex. A) seeks to maintain the confidentiality of non-public correspondence
 regarding the regulatory status of Norwich’s ANDA, and thereby preclude Norwich’s competitors
 (including personnel of Plaintiffs not covered by the Court’s Protective Order) from having access
 to and using the information to undercut Norwich’s business interests. In contrast, Plaintiffs’
 August 15, 2022 letter (D.I. 197) proposes a redaction that discloses Norwich’s confidential
 regulatory correspondence and allows competitors to approximate an approval timeline for
 Norwich’s ANDA. The Joint Letter was directed to a narrow dispute over the form of judgment,
 but Plaintiffs cited Norwich’s confidential information in their request for a status conference for
 eliciting post-trial discovery about Norwich’s ANDA. The Court should not allow a gratuitous
 disclosure of Norwich’s confidential information when such information had no relation to the
 Court’s decision regarding the form of judgment.
 I.     LAW
         “Although there is a ‘presumptive right of public access to pretrial motions of a
 nondiscovery nature, whether preliminary or dispositive,’ the right is ‘not absolute.’” Cipla Ltd.
 v. Boehringer Ingelheim Pharms. Inc. et al., C.A. No. 22-300-UNA, D.I. 9 at 1-2 (D. Del. Mar. 7,
 2022) (Andrews, J.) (Ex. B) (quoting In re Avandia Marketing, 924 F.3d 662, 672 (3d Cir. 2019)
 (quoting In re Cendant Corp., 260 F.3d 183, 192–93 (3d Cir. 2001) and Bank of Am. Nat’l Tr. &
 Sav. Ass’n v. Hotel Rittenhouse Assocs., 800 F.2d 339, 344 (3d Cir. 1986)). A movant overcomes
 this presumption by showing that “the interest in secrecy outweighs the presumption.” In re
 Avandia Marketing, 924 F.3d at 672. This burden is more easily satisfied when a party seeks to
 redact only a portion of a record. Miller v. Ind. Hosp., 16 F.3d 549, 551 (3d Cir. 1994).
 Accordingly, the material sought to be redacted must be “the kind of information that courts will
 protect and that disclosure will work a clearly defined and serious injury to the party seeking
 closure.” In re Avandia Marketing, 924 F.3d at 672 (quoting Miller, 16 F.3d at 551). “[C]ourts
 may deny access to judicial records, for example, where they are sources of business information
 that might harm a litigants competitive standing.” Littlejohn v. Bic Corp., 851 F.2d 673, 677–78
 (3d Cir. 1988); In re Avandia Marketing, 924 F.3d at 679. Courts may also deny access to judicial
 records if the records contain trade secrets, confidential research, development, or commercial
 information. Helsinn Healthcare S.A. v. Dr. Reddy’s Labs., Ltd., CV144274SRCCLW, 2017 WL
 11475270, at *2 (D.N.J. Nov. 8, 2017) (citing Leucadia, Inc. v. Applied Extrusion Techs Inc., 998
 F.2d 157, 166 (3d Cir. 1993)). Courts apply a “good cause” standard to justify redacting judicial
 records, which requires a “balancing process, in which courts weigh the harm of disclosing
 information against the importance of disclosure to the public.” Mosaid Techs. Inc. v. LSI Corp.,
 878 F. Supp. 2d 503, 507–08 (D. Del. 2012). Good cause exists where the information contains,
 for example, details of, discussion of, and/or reference to confidential information regarding the
 movant’s ANDA and regulatory strategy, and the movant demonstrates that competitors could use
 the information to undercut the movant’s business interests. Cipla, at 2 (citing Mylan Inc. v.
 SmithKline Beecham Corp., 723 F.3d 413, 415 n.3 (3d Cir. 2013)); Delaware Display Grp. LLC
 v. LG Elecs. Inc., 221 F. Supp. 495 (D. Del. 2016).
Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 3 of 70 PageID #: 13362




 II.    THE SERIOUS AND DEFINED HARM TO NORWICH
        OUTWEIGHS THE PUBLIC’S INTEREST IN THE INFORMATION.

         Any public interest in understanding the basis of the parties’ dispute is outweighed by the
 likely damage to Norwich’s interests in maintaining the confidentiality of its information and
 avoiding competitive harm. As discussed below and in the August 18, 2022 Declaration of Dr.
 Jyoti Sachdeva 1 (Ex. C), the disclosure of the correspondence cited in the Joint Letter will inflict
 a serious and defined injury to Norwich. The cited correspondence, including its date and contents,
 comprises Norwich’s non-public ANDA information. Ex. C at ¶¶ 5-6. The information it conveys
 is not yet stale due to the passage of time. Id. at ¶ 7. Norwich’s competitors, with knowledge of
 that correspondence, may ascertain                                          and reasonably estimate
 a date range for its approval, or tentative approval. Id. at ¶¶ 8-9 (citing Ex. G at 3; Ex. H at 5).
 Indeed, the deadlines for both responding to such correspondence and the review cycles for
 submissions made in response to the same are published in regulatory guidance documents that
 are well known to the industry. Id. Thus, even knowledge of the date and general subject of the
 cited correspondence would allow a competitor to glean specific information about Norwich’s
 ANDA, and then adopt a course of action that may undercut Norwich’s business interests or
 regulatory strategy. Id. at ¶¶ 9, 13.
         The harm to Norwich by the disclosure of the correspondence cited in the Joint Letter is
 not speculative. On August 20, 2021, FDA indicated that it intended to modify product specific
 guidance to add certain in vivo bioequivalence requirements for rifaximin 550 mg tablets, which
 had been subject to a biowaiver. Ex. C at ¶ 10 (citing Ex. I). Plaintiffs appear to have instigated
 this potential shift by serially filing Citizen’s Petitions with FDA, including one after Norwich
 submitted its ANDA. Id. at ¶ 11 (citing Ex. J at 1). Given the short gap of time between FDA’s
 August 20, 2021 announcement and the date of the correspondence cited in the Joint Letter, a
 competitor could ascertain that
                             . Id. at ¶ 10. Yet, even Plaintiffs agree in their proposal that
                         and other items discussed in the Joint Letter should be redacted. D.I. 197,
 Ex. A at 2. Norwich has reasonable apprehension that Plaintiffs, or another competitor, would use
 this information, if made public, to advance their own business interests, or in further petitioning
 before FDA. Ex. C at ¶¶ 11-12. Plaintiffs have already pointed to the possible addition of in vivo
 bioequivalence requirements, and their other potential efforts to thwart generic competition, in
 public statements to allay investors’ fears following the Court’s July 28, 2022 Oral Order. Id. at ¶
 11 (citing Ex. K at 2).
          Plaintiffs’ proposal is not sufficient to avoid such harm. On its face, Plaintiffs’ proposed
 redaction still discloses that Norwich’s ANDA was not in a condition to be approved and that FDA
 requested additional information. D.I. 197, Ex. A at 2. Thus, it provides non-public information
 to Norwich’s competitors. In addition, it identifies a date for the correspondence that, as discussed,
 could be used to estimate a timeline of the status of Norwich’s ANDA. Ex. C at ¶ 9. Three generic
 competitors have also submitted ANDAs for rifaximin 550 mg, settled the underlying patent
 litigation, and reportedly having the right to enter the market with their ANDA products, or an
 authorized generic, if and when Norwich launches its product. Id. at ¶ 12 (citing Ex. K at 2). One
 competitor has received tentative approval. Ex. D. Thus, disclosing information that concerns the
 1
  Dr. Sachdeva is Executive Director, Regulatory Affairs in the U.S. for Alvogen, Norwich’s
 affiliate and regulatory agent, and has been deposed in this matter regarding Norwich’s ANDA.
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Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 4 of 70 PageID #: 13363




 timing of approval, or tentative approval, of Norwich’s ANDA would advantage these other
 competitors in formulating their business or regulatory strategies, and disadvantage Norwich.
 Ex. C at ¶ 13. For example, Plaintiffs have already identified on the pursuit of additional rifaximin
 formulations as a potential strategy for avoiding a loss of exclusivity on their existing product. Ex.
 E.

 III.   PLAINTIFFS GRAUITOUSLY CITED THE INFORMATION FOR THE
        PURPOSE OF OBTAINING DISCOVERY ABOUT NORWICH’S ANDA.
         The Court’s July 28, 2022 Oral Order asked the parties to submit a proposed judgment in
 accord with the Court’s intended findings. The parties submitted the Joint Letter to address a
 dispute over the form of judgment. Plaintiffs’ citation to and discussion of the correspondence in
 the Joint Letter, however, did not relate to any dispute about the form of judgment. Rather, it
 pertained only to Plaintiffs’ request for a status conference aimed at eliciting post-trial discovery
 about Norwich’s ANDA. See Leucadia., 998 F.2d 157 (common law right of access did not attach
 to discovery motions); see also Genentech, Inc. v. Amgen, Inc., 1:17-cv-01407-CFC-SRF, D.I. 694
 at 15 (D. Del. Sept. 2, 2020) (Smolla, S.M.) (“The core learning of Leucadia is that the common-
 law right of access does not attach to [discovery] motions [ ] because this would have the effect of
 converting material that is normally not a ‘judicial record’ into material that is.”) (Ex. F at 7).
 Thus, Plaintiffs’ tangential request for a status conference is unrelated to the public’s interest in
 understanding the basis of the parties’ dispute over judgment form and the Court’s resolution of
 the same.

         Plaintiffs could have used alternate language (e.g., “Norwich last updated its production of
 ANDA documents in October 2021”) in the Joint Letter that made their request, preserved the
 confidentiality of Norwich’s information, and avoided the current dispute. Plaintiffs chose not to
 do so. Instead, they created a record that disclosed Norwich’s confidential information, and now
 seek to disclose this competitively-sensitive information to the public. The common law right of
 access to a judicial record should not encourage one party to build an unnecessary record with
 another party’s non-public information to achieve an end, or business interest, having no relation
 to the underlying dispute or judicial record.

                                               *       *       *

          For the foregoing reasons, Norwich respectfully requests that the Court issue an order
 authorizing the redaction-in-part of two sentences in the Joint Letter, as set forth in D.I. 196, that
 cite to and discuss the confidential correspondence.

                                                               Respectfully submitted,
                                                               /s/ Emily S. DiBenedetto
                                                               Emily S. DiBenedetto (No. 6779)



 cc:    Clerk of the Court (via CM/ECF)
        All Counsel of Record (via CM/ECF and e-mail)


                                                   3
Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 5 of 70 PageID #: 13364




                   Exhibit A
Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 6 of 70 PageID #: 13365




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

 SALIX PHARMACEUTICALS, LTD.; SALIX     )
 PHARMACEUTICALS, INC.; BAUSCH          )
 HEALTH IRELAND LTD.; ALFASIGMA S.P.A., )
                                        )
                Plaintiffs,             )
                                        )
      v.                                )
                                        )     C.A. No. 20-430 (RGA)
 NORWICH PHARMACEUTICALS, INC.,         )
                                        )
                Defendant.              )
                                        )

          JOINT LETTER TO THE HONORABLE RICHARD G. ANDREWS
                REGARDING PROPOSED FORM OF JUDGMENT
Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 7 of 70 PageID #: 13366




 I.      PLAINTIFFS’ POSITION

 Plaintiffs’ and Norwich’s proposed judgments (Exhibits A and B, respectively) present a dispute
 concerning whether the Court should determine now if Norwich’s ANDA would induce
 infringement in the future based on hypothetical changes Norwich may make to its ANDA (which
 is still under review and lacks tentative approval). Norwich’s judgment would automatically allow
 the FDA to approve its ANDA if Norwich were to amend it to carve out the HE indication (i.e., a
 label that is different from the one litigated by the parties) without any further action by this Court,
 by limiting the relief under § 271(e)(4)(A) (setting the date of earliest ANDA approval) to only an
 “ANDA with proposed labeling containing the indication ‘reduction in risk of overt hepatic
 encephalopathy (HE) recurrence in adults.’” This is improper because under § 271(e)(4)(A), the
 date of approval is tied to the drug product, not an indication. § 271(e)(4)(A) (“[T]he court shall
 order the effective date of any approval of the drug … product involved in the infringement to be
 a date which is not earlier than the date of the expiration of the patent which has been infringed.”).

 In essence, Norwich asks the Court to render an advisory judgment, because it would constitute
 “an opinion advising what the law would be upon a hypothetical state of facts.” Aetna Life Ins. Co.
 v. Haworth, 300 U.S. 227, 240-41 (1937); see also Sierra Applied Sci., Inc. v. Adv. Energy Indus.,
 Inc., 363 F.3d 1361, 1374, 1379 (Fed. Cir. 2004) (“[T]he court must carefully calibrate its analysis”
 in a case involving different products; “[t]o do otherwise would risk issuing an advisory opinion
 on … a method using that product—based on an actual controversy involving another product.”);
 Canon, Inc. v. Green Project, Inc., 12 Civ. 00576 (RWS), at *4 (S.D.N.Y. Aug. 29, 2013) (slip
 op.) (“[D]istrict courts have denied motions that ‘would amount to an impermissible advisory
 opinion,’ [when defendant] inappropriately seeks a pre-approval of its future behavior, namely,
 selling its redesign.”) (Exhibit C). Norwich’s argument that these were not ANDA cases is a
 distinction without a difference as they all involve Article III jurisdiction. Norwich proposes that
 the Court decide, without discovery or trial, that Norwich would not infringe the Asserted HE
 Patents if at some future date it were to amend its ANDA to purportedly carve out the HE
 indication—in effect, pre-approval of a design-around based on facts that have not occurred, the
 exact nature of which are unknown, and which may never come to pass. See Forest Lab’ys, LLC
 v. Sigmapharm Laby’s, LLC, 2019 WL 3574249, at *4 (D. Del. Aug. 6, 2019); see also Allergan,
 Inc. v. Sandoz, Inc., 2013 WL 6253669, at *3 (E.D. Tex. Dec. 3, 2013), aff’d 587 F. App’x 657
 (Fed. Cir. 2014) (per curium) (denying motion to modify judgment after Federal Circuit affirmed
 trial court’s validity findings; “[Sandoz’s] amendment purports to carve out an infringing element
 in an attempt to escape the judgment . . . [Sandoz] asserts[] the Court should deem this design-
 around to not infringe the [patent] and the present injunction should be modified to permit Sandoz
 to launch this new version of its product . . . . Sandoz fully litigated the merits of its invalidity case
 before this Court, and then, displeased with the outcome, [now seeks] to escape the consequences
 of this choice by shifting to a different course after the fact.”) (cleaned up).

 The Court’s Oral Order and Plaintiffs’ judgment apply to “Norwich’s ANDA,” period. “Norwich’s
 ANDA” served as the act of infringement under § 271(e)(2)(A) giving rise to jurisdiction, not a
 particular indication. The parties litigated and the Court asked the parties to assume that it decided
 that “Norwich’s ANDA” would induce infringement of the Asserted HE Patents. Necessarily, that
 is based on the proposed labeling that Norwich submitted with its current ANDA—a label that
 contains HE and IBS-D indications; HE and IBS-D dosages; HE and IBS-D clinical, safety, and
 pharmacokinetic data; etc. Although the Court’s opinion presumably will set forth the bases for its

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Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 8 of 70 PageID #: 13367




 decision, see FRCP 52(a), the judgment should reflect the ultimate decision—that “Norwich’s
 ANDA” would induce infringement of the Asserted HE Patents and under § 271(e)(4)(A), “the
 effective date of any approval of the drug . . . product” cannot be until the last of the Asserted HE
 Patents expire. The judgment should not summarize the Court’s findings on what portions of
 Norwich’s label (e.g., the indication “reduction in risk of overt [HE] recurrence in adults”) would
 induce infringement, and thus, by extension, what would not induce infringement. See FRCP 54(a)
 (“A judgment should not include recitals of pleadings, a master’s report, or a record of prior
 proceedings.”). Norwich’s recourse to the Novartis v. West-Ward judgment fails because all
 patents-in-suit were found not invalid, infringement was undisputed, and the judgment was not
 contested. Norwich concedes, and Plaintiffs agree, that this Court cannot enter judgment regarding
 a proposed “skinny” label. The parties never litigated the issue of what a future, hypothetical
 “skinny” label would look like, and whether it would infringe the Asserted HE Patents. Other than
 implying that it may carve out the HE indication (e.g., section 1.2 of its label), Norwich has not
 stated whether it would remove or revise other portions of the label, including sections Plaintiffs
 relied upon to prove infringement. Nor is there any way to know if the FDA will permit Norwich
 to revise or remove such language or would require other modifications. Thus, if Norwich were to
 carve out the HE indication (i.e., pursue a purported “skinny” label with the IBS-D indication),
 Plaintiffs would need further discovery on whether Norwich would still induce infringement of
 the Asserted HE Patents. As explained in GlaxoSmithKline LLC v. Teva Pharms. USA, Inc., 7
 F.4th 1320 (Fed. Cir. 2021) (en banc), a carve out is not an automatic exemption to inducement,
 and Plaintiffs would seek discovery similar to that relied on in GSK to prove inducement (e.g.,
 Norwich’s intent, marketing strategy, and marketing materials). Id. at 1337-38; Forest, 2019 WL
 3574249, at *8 (“[I]t is neither fair to [plaintiff] nor an efficient use of judicial resources for me to
 guess as to how the parties will modify their arguments based on the [ANDA] amendments.”).

 But as it stands, there has been no change to the facts the parties litigated at trial. Norwich lacks
 tentative approval and thus far has declined Plaintiffs’ request for updates as to the status of its
 ANDA. The last FDA correspondence Norwich produced was an October 18, 2021 Complete
 Response Letter, in which the FDA informed Norwich that it could not approve the ANDA in its
 present form and requested, among other things,

                                orwich has not disclosed whether it has responded to this letter, and
 if so, the status of the FDA’s acceptance of Norwich’s response. Not knowing when or whether
 Norwich’s ANDA will receive tentative approval or what it will cover leaves the potential for
 emergency motion practice (i.e., a temporary restraining order and preliminary injunction) or need
 for an expedited appeal. Plaintiffs respectfully request a status conference to address these issues
 so that the parties and courts do not unnecessarily waste resources.

 Finally, the parties dispute whether the judgment should include an injunction pursuant to §
 271(e)(4)(B). That disagreement largely mirrors that over whether Norwich is entitled to an
 advisory opinion. Stripped of this dispute, once, as here, liability is established, the court has
 routinely entered injunctions that apply to the ANDA, “including any amendments or supplements
 thereto.” See, e.g., Onyx Therapeutics, Inc. v. Cipla Ltd., C.A. No. 16-998 (D. Del. May 15, 2020)
 (D.I. 549) (Exhibit D) (Exhibit G (presenting dispute over whether the ANDA defendant was
 “improperly attempting to ‘carve out’ of the judgment some unknown and unidentified future
 modification to the formulating of its proposed ANDA product.”)). To the extent, however, there
 were any dispute, the parties can have further briefing on the eBay factors.
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Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 9 of 70 PageID #: 13368




 I.     DEFENDANT’S POSITION

 The Court directed the parties to submit a proposed final judgment that assumed the Court will
 find the asserted polymorph claims and IBS-D patent claims (“IBS-D claims”) invalid. Norwich’s
 proposal does this and would grant Salix the relief it is entitled to based on the only claims it
 prevailed on – the asserted HE patent claims (“HE claims”). Specifically, Norwich proposes a
 form of judgment (Exhibit B) that restricts the effective date of approval of Norwich’s ANDA only
 if the proposed labeling contains the HE indication, and does not enjoin Norwich from selling its
 ANDA Product because Salix has failed to create any record justifying injunctive relief. This
 proposal would leave Norwich the option of seeking to amend its ANDA, which has not been
 tentatively approved, to carve out the HE indication pursuant to 21 U.S.C. § 355(j)(2)(A)(viii).
 Salix’s proposal, on the other hand, would prevent FDA from approving, and Norwich from
 marketing, Norwich’s ANDA Product with any proposed labeling until 2029. Neither the Court’s
 presumptive rulings nor the record in this case entitle Salix to this additional relief.

        A.      The Approval Date of Norwich’s ANDA Should Only Be
                Restricted If the ANDA Labeling Contains the HE indication.

 Norwich proposes that the “effective date . . . of any final approval by FDA of Norwich’s ANDA
 with proposed labeling containing [the HE indication] shall be a date not earlier than the latest
 expiration of the Asserted HE Patent Claims . . . .” This acknowledges that the product has been
 approved for two distinct indications and that this Court’s July 28, 2022 Oral Order (D.I. 189) (the
 “Order”) found only that the asserted HE claims were valid and infringed.

 Rifaximin 550 mg tablets are indicated for (1) “treatment of irritable bowel syndrome with diarrhea
 (IBS-D) in adults” and (2) “reduction in risk of overt hepatic encephalopathy (HE) recurrence in
 adults.” These indications, however, are not related. Each indication is directed to a different
 condition and set of patients, and each requires a different dose and dosing regimen. Indeed, each
 party had different experts having different expertise address disputed issues of infringement
 concerning the asserted IBS-D and HE patent claims. In addition, the patent use codes submitted
 by Salix and listed in FDA’s Orange Book for the asserted HE patents (e.g., “reduction in risk of
 overt [HE] recurrence” and “reduction in subject’s risk of experiencing a breakthrough overt
 [HE] episode”) are not directed to treating IBS-D.

 The Order stated that the asserted IBS-D claims, and the asserted polymorph claims, would be
 found invalid as obvious. Thus, the IBS-D and polymorph patents cannot restrict Norwich from
 marketing its ANDA product, and were not infringed by the submission of Norwich’s ANDA.
 Moreover, Salix did not allege or offer evidence at trial that the IBS-D indication would induce
 infringement of the asserted HE claims. Accordingly, any relief granted to Salix should be based
 on the presence of the HE indication in the proposed ANDA labeling because that is what has been
 adjudicated to induce infringement of the asserted HE claims.

 Contrary to Salix’s argument that a judgment may only address “Norwich’s ANDA” as a whole,
 this Court is not foreclosed from assessing relief on an indication-by-indication basis. For
 example, in Novartis Pharms. Corp. et al. v. West-Ward Pharmaceuticals Int’l. Ltd., C.A. 15-474,
 D.I. 103 (D. Del. 2017) (Exhibit E), the court entered judgment restricting the approval date of the
 disputed ANDA according to each indication. There, the patentee showed that the different patents

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Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 10 of 70 PageID #: 13369




 covering the two indications were valid and infringed. Here, different patents cover the HE and
 IBS-D indications, and Norwich has prevailed on the IBS-D claims.

 Salix’s assertion that Norwich’s proposed judgment seeks an advisory opinion is erroneous. In
 fact, the opposite is true. Norwich’s proposed judgment is based on only what has been adjudicated
 by this Court – that the HE indication in Norwich’s label induces infringement of the HE patents
 and that the HE patents are valid. In contrast, by ordering that FDA delay the effective date of
 approval of Norwich’s ANDA regardless of whether the ANDA contains an indication directed to
 HE, Salix seeks a judgment that deems any label proposed in Norwich’s ANDA infringing. Yet,
 Salix is not entitled to such broad or speculative relief because that issue exceeds the scope of
 jurisdiction of this Court. This is especially true where the law permits ANDA applicants to carve
 out an indication from the drug label. 21 U.S.C. § 355(j)(2)(A)(viii). If Norwich were to carve
 out the HE indication from its proposed ANDA labeling, then the predicate for delaying the
 approval of Norwich’s ANDA until after the expiration of the asserted HE patent claims under
 Section 271(e) would no longer exist. Norwich does not ask this Court to enter judgment
 regarding, or “pre-approve,” a proposed “skinny” label for only the IBS-D indication. It asks this
 Court to reject any proposed judgment that presupposes labeling excluding the HE indication
 would infringe the asserted HE patent claims, or precludes Norwich’s ability to seek a skinny label.
 Notably, Salix did not assert any HE patent in Salix Pharms. Ltd. et al., Inc. v. Sandoz, Inc., C.A.
 No. 19-18566, D.I. 15 (D.N.J. Dec. 16, 2019) (Exhibit F), where another ANDA filer sought
 approval of the product for only the IBS-D indication.

 Salix’s case law regarding “advisory opinions” is inapposite. Aetna, Sierra, or Canon do not
 address an ANDA case or facts remotely congruent with the present dispute. In Allergan, the drug
 had one indication, a stipulation of infringement of the patent covering that indication was entered
 before trial, and the infringer later attempted a design-around by removing certain information
 from its proposed labeling for the same indication. In Forest Laboratories, the case involved a
 product claim and the infringer sought to change its product specification after trial. Here, the
 dispute is driven by the drug having two distinct indications, and not a product change.

        B.      Plaintiffs Have Not Met Their Burden to Obtain Injunctive Relief.

 The Court’s finding that Norwich would induce infringement of the asserted HE claims does not
 mandate injunctive relief. Bayer Pharma AG v. Watson Labs., Inc., C.A. No. 12-1726-LPS, 2016
 WL 7468172, at *4 (D. Del. Dec. 28, 2016) (denying injunctive relief). To obtain an injunction,
 Salix must satisfy a four-factor test that is well-known to this Court. Id. Salix has not created any
 record demonstrating irreparable harm or the inadequacy of available legal remedies. In fact, Salix
 presented no evidence to the Court whatsoever of the commercial sales of its branded product, nor
 of its significance to Salix. Contrary to Salix’s assertion, irreparable harm is not “presumptive,”
 and whether courts “routinely enter[ ] injunctions under § 271(e)” is irrelevant. Salix’s reliance
 on Onyx Therapeutics is misplaced because the entry of an injunction was not contested and the
 patents covered a composition and not a method of use. In addition, Norwich’s ANDA with
 proposed labeling for the HE indication could not be approved under either party’s proposed
 judgment before the expiration of the asserted HE claims. See Alcon, Inc. v. Teva Pharms. USA,
 Inc., C.A. No. 06-234-SLR, 2010 WL 3081327, at *3 (D. Del. Aug. 5, 2010) (Section 271(e)(4)(A)
 provided a legal remedy). Thus, an injunction is not warranted.


                                                  4
Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 11 of 70 PageID #: 13370




                                              Respectfully,


 MORRIS, NICHOLS, ARSHT & TUNNELL LLP                  SHAW KELLER LLP

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 cclark@morrisnichols.com                              Pharmaceuticals, Inc.

 Attorneys for Plaintiffs Salix Pharmaceuticals,
 Ltd., Salix Pharmaceuticals, Inc., Bausch
 Health Ireland Ltd., and Alfasigma S.p.A.

 August 3, 2022




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Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 12 of 70 PageID #: 13371




                   Exhibit B
Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 13 of 70 PageID #: 13372




                         IN THE UNITED SATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

  CIPLA LTD.,

                 Plaintiff,

         v.
                                                                        22-300-UNA
                                                      Civil Action No. _________
  BOEHRINGER INGELHEIM
  PHARMACEUTICALS INC.,
  BOEHRINGER INGELHEIM
  INTERNATIONAL GMBH, AND
  BOEHRINGER INGELHEIM PHARMA
  GMBH & CO. KG,

                 Defendants.


                              ORDER GRANTING MOTION TO SEAL

        THIS MATTER having come before the Court by way of motion by Plaintiff Cipla Ltd.

 (“Plaintiff” or “Cipla”) seeking an order pursuant to Local Rule of Civil Practice and Procedure of

 the United States District Court for the District of Delaware 5.1.3 sealing portions of Cipla’s

 Complaint for Declaratory Judgment of Noninfringement (“Complaint”) and Exhibits BD and H

 under seal. For good cause appearing, the Court hereby finds:

        1.      Although there is a “presumptive right of public access to pretrial motions of a

 nondiscovery nature, whether preliminary or dispositive,” In re Avandia Marketing, 924 F.3d 662,

 672 (3d Cir. 2019) (quoting In re Cendant Corp., 260 F.3d 183, 192–93 (3d Cir. 2001)), the right

 is “not absolute,” id. (quoting Bank of Am. Nat’l Tr. & Sav. Ass’n v. Hotel Rittenhouse Assocs.,

 800 F.2d 339, 344 (3d Cir. 1986)); see also Littlejohn v. Bic Corp., 851 F.2d 673, 677–78 (3d Cir.

 1988). The movant overcomes the presumption of access if it shows “that the interest in secrecy

 outweighs the presumption. In re Avandia Marketing, 924 F.3d at 672 (quoting Bank of Am., 800

 F.2d at 344). The material needs to be “the kind of information that courts will protect and that
Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 14 of 70 PageID #: 13373




 disclosure will work a clearly defined and serious injury to the party seeking closure.’” Id. (quoting

 Miller v. Ind. Hosp., 16 F.3d 549, 551 (3d Cir. 1994)).

        2.      A court applies a “good cause” standard to justify sealing or redacting judicial

 records, which requires a “balancing process, in which courts weigh the harm of disclosing

 information against the importance of disclosure to the public.” Mosaid Techs. Inc. v. LSI Corp.,

 878 F. Supp. 2d 503, 507–08 (D. Del. 2012).

        3.      Cipla has requested the Court seal details of, discussion of, and/or reference to

 communications with the U.S. Food and Drug Administration (“FDA”) relating to Cipla’s

 Abbreviated New Drug Application (“ANDA”) for Cipla’s Nintedanib capsules, 100 mg and 150

 mg (“Cipla’s proposed ANDA product”) and confidential communications with Defendants

 Boehringer Ingelheim Pharmaceuticals Inc. (“Boehringer, Inc.”), Boehringer Ingelheim

 International GmbH (“Boehringer GmbH”), and Boehringer Ingelheim Pharma GmbH & Co. KG

 (“Boehringer Pharma”) (collectively, “Defendants” or “Boehringer”) relating to Cipla’s ANDA

 and Cipla’s proposed ANDA product.

        4.      The Court finds good cause to seal portions of the Complaint that contain details

 of, discussion of, and/or reference to confidential information regarding Cipla’s ANDA and

 Cipla’s proposed ANDA product.

        5.      The Court finds that disclosure of this type of information would cause a clearly

 defined and serious injury to Cipla because future competitors could use the details of Cipla’s

 proposed ANDA product and regulatory strategy as a roadmap for their own potential products

 that could undercut Cipla’s business interests. See, e.g., Mylan Inc. v. SmithKline Beecham Corp.,

 723 F.3d 413, 415 n.3 (3d Cir. 2013) (finding good cause to seal documents “to protect the parties’

 confidential proprietary business and competitive interests”).




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Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 15 of 70 PageID #: 13374




        6.      Accordingly, the Court finds that good cause exists to seal the documents at issue

 under the considerations set forth in In re Avandia Marketing, 924 F.3d 662, 672 (3d Cir. 2019)

 and Local Rule of Civil Practice and Procedure of the United States District Court for the District

 of Delaware 5.1.3.

        For the reasons set forth above, as well as good cause shown:

                         7
        IT IS, on this ______         March
                              day of _____________, 2022,

        1.      ORDERED that Cipla’s Motion to File Under Seal is GRANTED and the portions

 identified in Cipla’s Motion to File Under Seal shall remain under seal; and further

        2.      Cipla shall file redacted versions of its Complaint within seven (7) days of filing

 the sealed documents, which will redact only the confidential information identified by Cipla in

 support of its Motion to Seal.



 SO ORDERED.
                                                        /s/ Richard G. Andrews
                                                      ____________________________________

                                                        U.S. District Court Judge




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Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 16 of 70 PageID #: 13375




                    Exhibit C
Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 17 of 70 PageID #: 13376




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

  SALIX PHARMACEUTICALS, LTD.; SALIX       )
  PHARMACEUTICALS, INC.; BAUSCH            )
  HEALTH IRELAND LTD.; ALFASIGMA           )
  S.P.A.,                                  )
                                           )   C.A. No. 20-430 (RGA)
                    Plaintiffs,            )
                                           )   DECLARATION OF JYOTI
        v.                                 )   SACHDEVA
                                           )
  NORWICH PHARMACEUTICALS, INC.,           )
                                           )
                    Defendant.             )
Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 18 of 70 PageID #: 13377




        I, Jyoti Sachdeva, Ph.D., declare as follows:

        1.      I submit this Declaration on behalf of Norwich Pharmaceuticals, Inc. (“Norwich”)

 in support of Norwich’s request to redact information concerning non-public correspondence

 about Norwich’s Abbreviated New Drug Application No. 214369 (the “ANDA”) cited in the

 August 3, 2022 Joint Letter to the Honorable Richard G. Andrews Regarding Proposed Form of

 Judgment (D.I. 190) (“Joint Letter”).

        2.      Norwich is an affiliate of a group of companies known as “Alvogen,” and

 Alvogen is the regulatory agent for Norwich’s ANDA.

        3.      I am the Executive Director, Regulatory Affairs in the United States for Alvogen,

 and have knowledge of Norwich’s ANDA and related correspondence to or from Norwich and

 the U.S. Food and Drug Administration (“FDA”) concerning Norwich’s ANDA. I was

 previously deposed in this matter.

        4.      I have personal knowledge of the facts set forth in this Declaration or believe such

 facts to be true based on personal knowledge, information provided by knowledgeable persons

 who work with me, and review of records kept in the ordinary course of business.

        5.      I have reviewed-in-relevant-part and understand that the Joint Letter cites a

 Complete Response Letter that Norwich received from FDA on October 8, 2021 in regards to the

 ANDA (the “October 2021 CRL Letter”).

        6.      The October 2021 CRL Letter has not been disclosed publicly and reflects

 sensitive proprietary information regarding Norwich’s ANDA and its regulatory status.

        7.      Given that Norwich received the October 2021 CRL Letter less than one year ago,

 neither the letter nor the information it contains is stale due the mere passage of time.

        8.      Persons having knowledge of the regulation and approval of generic

 pharmaceutical drugs will understand that (i) a complete response letter requires an applicant to

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Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 19 of 70 PageID #: 13378




 submit a response that addresses FDA’s concerns or provides additional information, and (ii) the

 response must generally be submitted within one year of receipt of the complete response letter,

 absent an extension. See generally Failure to Respond to an ANDA Complete Response Letter

 Within the Regulatory Timeframe (Jul. 2022), available at

 https://www.fda.gov/media/160166/download.

        9.      The disclosure of the fact that Norwich received the October 2021 CRL Letter

 would permit industry participants having familiarity with FDA’s regulatory process to estimate

 a timeline for FDA’s decision-making regarding Norwich’s ANDA. For example, FDA will

 review a response to a CRL letter containing an amendment to an ANDA in three to ten months

 depending on whether the amendment is classified as minor or major. See GDUFA

 Reauthorization Performance Goals And Program Enhancements Fiscal Years 2018-2022, at 5

 (May 12, 2016), available at https://www.fda.gov/media/101052/download. Thus, knowledge of

 the date and general subject of a complete response letter would convey competitively sensitive

 information to potential competitors, which include the company that markets the brand drug and

 other ANDA filers.

        10.     On August 20, 2021, FDA announced its intent to modify the product specific

 guidance for rifaximin 550 mg tablets to “add” certain in vivo bioequivalence requirements for

 ANDA filers. See Planned Revised PSGs for Complex Generic Drug Products (updated August

 2, 2022), available at https://www.fda.gov/drugs/guidances-drugs/upcoming-product-specific-

 guidances-complex-generic-drug-product-development. Given the short gap of time between

 FDA’s announcement and the October 2021 CRL Letter, a person familiar with the regulatory

 process could reasonably determine that

                  This information would be of significant value to competitors seeking to gauge



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Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 20 of 70 PageID #: 13379




 the approval timeline for Norwich’s rifaximin 550 mg tablets and allow them to develop their

 own commercial and regulatory strategies, which would disadvantage Norwich.

        11.     I am aware that Bausch Health filed a Citizen Petition in January 2021 regarding

 the bioequivalence requirements for rifaximin 550 mg tablets. See Docket No. FDA-2021-P-

 0096, available at https://www.regulations.gov/docket/FDA-2021-P-0096/. In addition, I am

 aware that Bausch Health issued a press release on July 28, 2022 stating that “The FDA has

 stated that they plan to make a major revision to the rifaximin product specific guidance to add

 an in vivo bioequivalency study.” Bausch Health, Bausch Health Provides Update Following

 Oral Order in XIFAXAN® Patent Litigation (Jul. 28, 2022), available at

 https://www.bauschhealth.com/news-room/news-releases/news-details/202207281545pr_news_

 uspr_____ny30520. Given the foregoing, Norwich has serious concerns that the disclosure of

 non-public information relating to the status of its ANDA may be used by Bausch Health, or

 another competitor, in an attempt to disadvantage, if not delay, Norwich’s efforts to obtain

 tentative or final FDA approval for its rifaximin 550 mg tablets.

        12.     Based on the same press release, I am also aware that Teva Pharmaceuticals, Sun

 Pharmaceuticals, and Sandoz have filed ANDAs for rifaximin 550 mg tablets and reportedly

 have the ability to market their product if and when Norwich launches its product. Thus, the

 disclosure of the October 2021 CRL Letter would convey competitively sensitive information to

 other generic companies who may be preparing their own business or regulatory strategies, and

 disadvantage Norwich.

        13.     If the existence of and a general description on the contents of the October 2021

 CRL Letter were to become available to the public or Norwich’s competitors, Norwich would

 suffer serious commercial injury. Public disclosure of Norwich’s sensitive business information



                                                 3
Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 21 of 70 PageID #: 13380




 would give competitors an unfair advantage in a highly competitive marketplace, potentially

 causing Norwich significant competitive harm.

        I declare under penalty of perjury and under the laws of the State of New Jersey that the

 foregoing is true and correct. Executed this 19 day of August, 2022 at 44, Whippany Road,

 Morristown, New Jersey.



                                                     Jyoti Sachdeva, Ph.D.




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Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 22 of 70 PageID #: 13381




                   Exhibit D
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                   Exhibit E
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                   Exhibit F
Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 29 of 70 PageID #: 13388




                IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF DELAWARE


 _______________________________
 GENENTECH, INC. and CITY OF )
 HOPE,                          )
                                )
      Plaintiffs,               )            Civ. No. 17-1407- CFC, Consol.
                                )
      v.                        )
                                )
 AMGEN, INC.                    )
                                )
      Defendant.                )
 _______________________________)
 GENENTECH, INC. and CITY OF )
 HOPE,                          )
                                )
      Plaintiffs,               )            Civ. No. 18-924-CFC
                                )
      v.                        )
                                )
 AMGEN, INC.                    )
                                )
      Defendant.                )
 _______________________________)


        REPORT AND RECOMMENDATION OF SPECIAL MASTER

 Rodney A. Smolla, Special Master

       District Court Judge Colm Connolly assigned these consolidated matters to

 the Special Master in a Memorandum Order entered on March 30, 2020. The District

 Court’s order broadly instructed the Special Master to determine whether the sealed
Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 30 of 70 PageID #: 13389




 redacted filings of the parties comply with the legal principles that govern the sealing

 of documents filed in federal judicial proceedings as established by the Supreme

 Court of the United States, the United States Court of Appeals for the Third Circuit,

 and the Federal Rules of Civil Procedure.

       This Report and Recommendation: (1) describes the process through which

 the duties of the Special Master were completed; (2) briefly summarizes the

 applicable legal principles governing sealing; (3) recites the legal positions on the

 issues taken by the parties and explains the Special Master’s approval and

 endorsement of their positions; and (4) concludes with a recommended order

 detailing the mechanics of how the parties should comply with this Report and

 Recommendation, to ensure that all material that should be unsealed is unsealed, and

 all that should remain sealed remains sealed.1

       A separate Sealed Appendix is filed contemporaneously with this Report and

 Recommendation.       That Sealed Appendix contains a document-by-document

 review, in which the nature of every retained sealing or partial redaction is described,

 and the legal basis justifying continued sealing or redaction is succinctly explained.




 1
   The recitation of law in this Report and Recommendation has been kept short.
 The Court is well-familiar with the controlling principles. The parties, through the
 initial guidance provided by the Special Master, and as evidenced in their thorough
 subsequent briefing, are as well. There is no disagreement as to the guiding legal
 principles.
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Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 31 of 70 PageID #: 13390




                                    I. The Process

       The Parties and the Special Master agreed on a process for streamlining the

 review ordered by Judge Connolly and mandated by Third Circuit precedent. It may

 well serve as a useful model for future similar undertakings. The Special Master

 issued an Interim Order providing legal guidance to the parties regarding the nature

 of material that should not be sealed, and the nature of material that could justifiably

 be sealed, and the nature of the factual showing required to justify sealing. The

 Parties then engaged in their own self-review of all previously sealed material,

 engaging in a self-critique in which material previously filed under seal was

 voluntarily designated for unsealing. As to filings that, in whole or in part, should

 in either Party’s view remain sealed, the Parties submitted to the Special Master the

 proffered legal and factual justifications. This process undoubtedly saved a great

 deal of time and expense. Even so, between them the Parties still submitted several

 hundred principal documents or attached exhibits for which continued sealing was

 urged, in whole or in part. As to those documents, the Special Master considered

 the Parties’ legal submissions and the Parties’ application of law to fact as to each

 document. As required by Third Circuit precedent, each specific sealing and

 redaction was reviewed by the Special Master.




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Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 32 of 70 PageID #: 13391




                        II. The Applicable Legal Principles

       A.     The Three Tiers of Review

       Three discrete bodies of law govern the principles pertaining to

 confidentiality, sealing, and redactions of documents in federal court litigation.

 They apply in ascending orders of scrutiny.

       First, there are principles governing the issuance of protective orders in federal

 litigation. These principles emanate from Rule 26(c) of the Federal Rules of Civil

 Procedure, and the attendant gloss courts have applied to the application of Rule

 26(c). See Pansy v. Borough of Stroudsburg, 23 F.3d 772, 783-92 (3d Cir. 1994).

       Second, federal courts recognize a common-law right of access to judicial

 records. “The existence of a common law right of access to judicial proceedings and

 to inspect judicial records is beyond dispute.” Publicker Industries, Inc. v. Cohen,

 733 F.2d 1059, 1066 (3d Cir. 1984). There is a “presumption in favor of access to

 ‘public records and documents, including judicial records and documents.’” Bank of

 America National Trust & Savings Association v. Hotel Rittenhouse Associates, 800

 F.2d at 343, quoting Nixon v. Warner Communications, Inc., 435 U.S. 589, 597

 (1978).

       Third, “the public and the press have a First Amendment right of access to

 civil trials.” In re Avandia Marketing Sales Practices & Product Liability Litigation,

 924 F.3d 662, 673 (3d Cir. 2019), citing Publicker, 733 F.2d at 1070. “[T]he First


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Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 33 of 70 PageID #: 13392




 Amendment, independent of the common law, protects the public’s right of access

 to the records of civil proceedings.” Republic of Philippines v. Westinghouse

 Electric Corporation, 949 F.2d 653, 659 (3d Cir. 1991), citing Publicker, 733 F.2d

 at 1070. “The First Amendment right of access requires a much higher showing than

 the common law right to access before a judicial proceeding can be sealed.” In re

 Cendant Corp., 260 F.3d 183, 198 n. 13 (3d Cir. 2001). Any restriction on the First

 Amendment right of public access is “‘evaluated under strict scrutiny.’” Avandia,

 924 F.3d at 673, quoting PG Publishing Company v. Aichele, 705 F.3d 91, 104 (3d

 Cir. 2013).

       Of these three, it is the middle tier, the common-law access right, that is

 principally in play in this Report and Recommendation.

       B.      The Common-Law Right of Access

       1. The Avandia Guidance

       While not purporting to articulate exhaustively what substantive showings

 will justify sealing or redacting a judicial record and what showings will not, the

 Third Circuit’s landmark ruling in Avandia did provide substantial guidance.

 Avandia confirmed the long-standing truism that the presumption of public access is

 “‘not absolute.’” Avandia, 924 F.3d at 672, quoting Bank of America, 800 F.2d at

 344. The presumption of public access may be overcome.




                                          5
Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 34 of 70 PageID #: 13393




       The critical divide is the distinction between material containing palpable

 trade secrets or proprietary business practices that will produce present commercial

 and competitive harm, on the one hand, and vague, conclusory assertions of

 commercial or competitive harm, or assertions that in fact appear grounded in

 reputational interests and embarrassment, on the other. A party’s “‘vague assertions

 that the transcript contains secretive business information, and that disclosure would

 render [it] at a tactical disadvantage’ [are] insufficient to overcome that strong

 presumption.” Avandia, 924 F.3d at 676, quoting LEAP Sys., Inc. v. MoneyTrax,

 Inc., 638 F.3d 216, 221-22 (3d Cir. 2011). The touchstone is the persuasive

 demonstration of specific, concrete, particularized of harm.

       2. The Publicker Categories

       The Third Circuit’s 1984 opinion in Publicker, decided some 25 years prior

 to Avandia, endures as one of the most important substantive guides to what material

 may justifiably remain sealed. In a paragraph describing situations in which sealing

 could be justified, the Third Circuit postulated three categories: one involving “the

 content of the information at issue,” a second “the relationship of the parties,” and

 the third “the nature of the controversy.” Publicker, at 733 F.2d at 1073.

       The Third Circuit then offered examples.            For “the content of the

 information,” it used as an example “safeguarding a trade secret.” Id. For the

 “relationship of the parties,” it posited a suit by a client to prevent a lawyer from


                                           6
Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 35 of 70 PageID #: 13394




 disclosing confidential information protected by the attorney-client privilege. Id.

 The Third Circuit then gave as an example of “the nature of the controversy,” a

 passage which reads in its entirety: “A similar situation would be presented where

 there is a binding contractual obligation not to disclose certain information which to

 the court seems innocuous but newsworthy; in that situation unbridled disclosure of

 the nature of the controversy would deprive the litigant of his right to enforce a legal

 obligation.” Id. at 1073-74.

       3. The Carve-Out for Discovery Motions

       In Leucadia, Inc. v. Applied Extrusion Technologies, Inc., 998 F.2d 157 (3d

 Cir. 1993), the Third Circuit held that the common-law right of access did not attach

 to discovery motions. In excluding “discovery motions,” Leucadia relied heavily

 on the fundamental principle that underlying discovery material itself is not a judicial

 record. There is no common law right of access to “raw discovery.” Id. at 157. If

 in the course of discovery, disputes arise, parties may file “discovery motions”

 seeking the intervention of a court to resolve the disputes. Those motions may

 require attachment of “raw discovery” materials, such as excerpts from depositions

 or interrogatory answers. The core learning of Leucadia is that the common-law

 right of access does not attach to such motions, or their exhibits containing raw

 discovery, because this would have the effect of converting material that is normally

 not a “judicial record” into material that is. The key passage in Leucadia thus


                                            7
Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 36 of 70 PageID #: 13395




 explained that “a holding that discovery motions and supporting materials are

 subject to a presumptive right of access would make raw discovery, ordinarily

 inaccessible to the public, accessible merely because it had to be included in motions

 precipitated by inadequate discovery responses or overly aggressive discovery

 demands.” Id. at 157.

       4. The Procedural Requirements

       Avandia contemplates a rigorous process of judicial review. The right of

 access must not be demoted to “a mere formality.” Avandia, 924 F.3d at 676. To

 ensure that proper weight is given to “the public’s strong interest in the openness of

 judicial records,” a District Court must engage in “a document-by-document

 review.” Id.     Casual, superficial review does not suffice. “Again, the strong

 presumption of openness inherent in the common law right of access ‘disallows the

 routine and perfunctory closing of judicial records.’” Id., citing In re Cendant Corp.,

 260 F.3d at 193-94.

       The substantive and procedural standards that must be met to overcome the

 presumption of access are onerous by definition and design. The party seeking to

 seal judicial records must satisfy “a heavy burden.” Miller v. Indiana Hospital, 16

 F.3d 549, 551 (3d Cir. 1994). The party seeking to have a record sealed “must show

 that ‘the material is the kind of information that courts will protect and that

 disclosure will work a clearly defined and serious injury to the party seeking


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Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 37 of 70 PageID #: 13396




 closure.’” Avandia, 924 F.3d at 677-78, quoting Miller, 16 F.3d at 55. In granting a

 sealing order, a “District Court should articulate ‘the compelling[,] countervailing

 interests to be protected,” make “specific findings on the record concerning the

 effects of disclosure, and provide[ ] an opportunity for interested third parties to be

 heard.’” Avandia, 924 F.3d at 677-78, quoting In re Cendant Corp., 260 F.3d at 194.

 “‘In delineating the injury to be prevented, specificity is essential.’” Id. Generalized

 incantations that secrecy is required to prevent competitive or commercial harm are

 not enough to carry the movant’s burden. “‘Broad allegations of harm, bereft of

 specific examples or articulated reasoning, are insufficient.’” Id.

       The factfinding required by district courts must be careful and meticulous in

 order to vindicate the rights of the public and the integrity of the judicial process

 itself, notwithstanding the private interests or preferences of the litigants, even when

 they are in agreement. “‘[C]areful factfinding and balancing of competing interests

 is required before the strong presumption of openness can be overcome by the

 secrecy interests of private litigants.’” Avandia, 924 F.3d at 677-78, quoting

 Leucadia, 998 F.2d at 167.

       The Third Circuit’s Avandia opinion mandates a “document-by-document”

 review of the claimed propriety of sealing. “[I]t must be clear from the record that

 the district court engaged in a particularized, deliberate assessment of the standard

 as it applies to each disputed document.” Id.


                                            9
Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 38 of 70 PageID #: 13397




                        III. The Submissions of the Parties

                         A. Genentech’s Legal Arguments

       Genentech grounds its claims for continued sealing or redaction of certain

 designated materials on its need to retain the confidentiality of proprietary trade

 secrets or other competitively sensitive information. Such material is at the core of

 that type of material that is routinely treated as overcoming the common-law

 presumption of access. The revelation of trade secrets, or of other competitively

 sensitive information that may not meet the formal definition of “trade secret,” but

 nonetheless is shown to be of the nature that would work palpable competitive harm

 on a party, is precisely the type of material most likely to successfully rebut the

 presumption favoring access. As the Supreme Court observed in Nixon v. Warner

 Communications, “courts have refused to permit their files to serve as … sources of

 business information that might harm a litigant’s competitive standing.” Nixon, 435

 U.S. at 598. So too, the Third Circuit has recognized that “[d]ocuments containing

 trade secrets or other confidential business information may be protected from

 disclosure.” Leucadia, 998 F.2d at 166. Thus “[d]espite the presumption, courts may

 deny access to judicial records, for example, where they are sources of business

 information that might harm a litigants competitive standing.” Littlejohn v. Bic

 Corp., 851 F.2d 673, 678 (3d Cir. 1988), citing Nixon, 435 U.S. at 598.




                                          10
Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 39 of 70 PageID #: 13398




                           B. Amgen’s Legal Arguments

       Amgen groups its proffered retained sealings and redactions into four

 categories:

 (1)   Sensitive and proprietary manufacturing and trade secret information;

 (2)   Sensitive and confidential material reflecting commercial and regulatory

 intelligence, planning and/or strategy;

 (3)   Sensitive and proprietary legal information, including privileged material

 produced in response to the Court’s waiver orders; and

 (4)   Sensitive and confidential pre-litigation material reflecting the parties’

 substantive exchanges during the non-public pretrial exchanges under the Biologics

 Price Competition and Innovation Act (“BPCIA”), 42 U.S.C. § 262.

       Sealing of material is legally justified under all four of these categories.

       The first two categories identified by Amgen are essentially alternative

 phrasings to the same principles relied upon by Genentech. They fall well within

 the confines of the types of material that the Third Circuit has identified as

 appropriate for sealing under the standards of Publicker, Avandia, and related cases.

       As to the third category, confidential legal information is the sort of

 relationship-based exception to the common-law access rule specifically described

 in Publicker.

       And the final category, confidential exchanges arising from the BPCIA


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Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 40 of 70 PageID #: 13399




 process, is an extraneously imposed confidentiality obligation—imposed by

 Congress, after all—carrying even greater weight than Publicker’s recognition that

 contractual obligations may justify sealing or redaction. The BPCIA is a process

 prescribed by Congress to streamline biosimilar product litigation through

 negotiations directed at identifying patents to litigate or license. The Act by its terms

 treats these exchanges as confidential. 42 U.S.C. § 262(l)(1)(C) (“No person that

 receives confidential information . . . shall disclose any confidential information to

 any other person or entity, including the reference product sponsor, without the prior

 written consent of the [biosimilar] applicant.”).

       On top of these four substantive justifications, much of the material

 designated for continued sealing or redaction by both parties falls squarely within

 the carve-out for discovery motions and accompanying attachments recognized in

 Leucadia.

                              C. Factual Documentation

       Both Genentech and Amgen provided comprehensive and persuasive factual

 explanation and documentation as to why the material each identified as appropriate

 for sealing does in fact meet the criteria summarized above. Both parties submitted

 numerous, lengthy, and detailed factual declarations by highly placed and expert

 employees within their respective companies.           Those substantial declarations

 explained generally, and with reference to specific documents in the record, the


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Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 41 of 70 PageID #: 13400




 factual predicate for continued sealing. The positions and qualifications of those

 declarants, as well as the substance of their presentations, are discussed as germane

 in the Sealed Appendix.

       In generic terms, without broaching reference to specific redacted or sealed

 material, the submissions of the parties were in alignment in describing the intensely

 competitive scientific and business arena in which they compete.          Both have

 persuasively established the justification for sealing various docket entries and

 accompanying exhibits. The proffered justifications include, among others, trade

 secrets, proprietary scientific research, highly sensitive manufacturing information,

 the confidential terms of settlement and license agreements, business intelligence,

 regulatory strategies, and confidential legal information.

       The parties have documented how the information contained in their proposed

 sealings and redactions, if disclosed, would visit upon them present commercial and

 competitive harm. In revealing sensitive and confidential business information to

 their competitors, they would be supplying those competitors with information

 regarding their knowledge, operations, capabilities, and strategies.

       In some instances, the prospect of harm is linear and direct. Competitors in

 the highly-competitive biologics marketplace could use Amgen’s or Genentech’s

 own research to the competitors’ competitive advantage to more effectively develop

 and manufacture products.


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Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 42 of 70 PageID #: 13401




       In other instances, the harm is less linear and direct, but still entirely real.

 Both parties, as many in the industry, are constantly involved in litigation.

 Revelation of the terms of settlement agreements, which are among the documents

 for which continued sealing is often sought, could place the parties at a demonstrable

 disadvantage in navigating and negotiating other litigation contests with competitors

 in the same pharmaceutical space.

       The parties have established that in the highly competitive pharmaceutical

 industry environment, even seemingly minor pieces of information about a

 pharmaceutical company can be valuable to its competitors. So too, both parties have

 demonstrated that they go to extraordinary lengths to safeguard the integrity of their

 confidential information, both through the firewalls they impose to protect the

 information from outsiders, and the closely guarded “need to know” protocols they

 impose internally on their own employees.

       One size does not fit all in describing the specific nature of the proposed

 redactions.   In some instances the material reflects commercial intelligence—

 research and strategic analysis of factors such as anticipated market share and

 penetration, sales volume, or pricing and discount strategy. These competitive

 assessments include inward-facing judgments on the parties’ own capacities as well

 as outward-facing judgments on the capacities of others. The proffered redactions

 also include information on the approaches of the parties to interfacing with


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Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 43 of 70 PageID #: 13402




 government regulators in their highly regulated industry. The parties each expend

 substantial resources in conceptualizing how best to secure regulatory approval of

 their products. Public revelation of those strategies could undercut the effectiveness

 of those efforts, or provide competitors with value information they could exploit to

 their own advantage.

       In sum, the parties have engaged in appropriate self-restraint and self-scrutiny

 in placing into the public domain much of the material previously filed under seal.

 Having carefully scrutinized the sealings and redactions they seek to maintain, the

 Special Master approves and recommends continued sealing and redaction, as

 detailed more specifically in the accompanying Sealed Appendix.

                              IV. Recommended Order

       This litigation has been expansive, and the mechanics of executing the

 operational directives of this Report and Recommendation are fraught with the

 potential for inadvertent error. The guiding principles are simple enough:

       (1) Any document previously sealed that is now to be unsealed in its entirety

 should be unsealed.

       (2) Any document previously sealed in its entirety that is now to continue to

 be sealed in its entirety should remain sealed.

       (3) Any document previously sealed in its entirety, or redacted in part, which

 is now to retain some justifiable redactions, but narrowed from the prior entire


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Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 44 of 70 PageID #: 13403




 sealing or redacted sealing, should be re-filed in its new form, with only the approved

 narrowed redactions continued.

       To implement these principles, the Parties have already conferred with the

 Clerk of the Court. As a result of that consultation, this Report and Recommendation

 recommends to the Court that the Parties be ordered to meet and confer and file a

 joint submission to the Clerk of Court, in the form of an Appendix (as opposed to

 document-by-document re-filings), with a courtesy copy to the Special Master, that

 will: (1) identify those filings that were previously sealed in whole or in part that

 should now be entirely unsealed; (2) identify those documents previously sealed that

 are now to be continued to be sealed in their entirety; and (3) compile in the one

 Appendix filing new versions of all documents previously filed entirely under seal

 or with redactions, in their new form, with the redactions narrowed as approved by

 the Special Master as listed in the Sealed Appendix, with the appropriate previously

 sealed or redacted material now public, and the continued and approved material

 redacted.




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Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 45 of 70 PageID #: 13404




                   Exhibit G
Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 46 of 70 PageID #: 13405




   Failure to Respond to
   an ANDA Complete
  Response Letter Within
      the Regulatory
        Timeframe
              Guidance for Industry




                   U.S. Department of Health and Human Services
                            Food and Drug Administration
                  Center for Drug Evaluation and Research (CDER)
                 Center for Biologics Evaluation and Research (CBER)


                                     July 2022
                                   Generic Drugs
Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 47 of 70 PageID #: 13406




   Failure to Respond to
   an ANDA Complete
  Response Letter Within
      the Regulatory
        Timeframe
                  Guidance for Industry
                                       Additional copies are available from:
                             Office of Communications, Division of Drug Information
                                     Center for Drug Evaluation and Research
                                          Food and Drug Administration
                              10001 New Hampshire Ave., Hillandale Bldg., 4th Floor
                                          Silver Spring, MD 20993-0002
                            Phone: 855-543-3784 or 301-796-3400; Fax: 301-431-6353
                                          Email: druginfo@fda.hhs.gov
               https://www.fda.gov/Drugs/GuidanceComplianceRegulatoryInformation/Guidances/default.htm
                                                          or
                               Office of Communication, Outreach, and Development
                                   Center for Biologics Evaluation and Research
                                           Food and Drug Administration
                                 10903 New Hampshire Ave., Bldg. 71, Room 3128
                                           Silver Spring, MD 20993-0002
                         Phone: 800-835-4709 or 240-402-8010; Email: ocod@fda.hhs.gov
   https://www.fda.gov/vaccines-blood-biologics/guidance-compliance-regulatory-information-biologics/biologics-
                                                      guidances

                         U.S. Department of Health and Human Services
                                  Food and Drug Administration
                        Center for Drug Evaluation and Research (CDER)
                       Center for Biologics Evaluation and Research (CBER)
                                             July 2022
                                           Generic Drugs
Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 48 of 70 PageID #: 13407

                                  Contains Nonbinding Recommendations


              A. Failure to Respond to a CRL Within 1 Year

 If an applicant fails to submit to FDA all materials needed to fully address all deficiencies
 identified in the CRL within 1 year after issuance of the CRL (or take either of the other two
 actions prescribed by regulation and that are described above), FDA may consider this failure to
 be a request by the applicant to withdraw the ANDA. 9 FDA will notify the applicant in writing
 and the applicant will have 30 days from the date of that notification to (1) explain why the
 ANDA should not be withdrawn and (2) request an extension of time to address all deficiencies
 identified in the CRL. 10 To best facilitate FDA’s consideration of the reasonableness of the
 request under 21 CFR 314.110(c), we recommend that the applicant provide the information
 described in section III.C of this guidance, and FDA will evaluate that request for an extension of
 time by considering, among other relevant information, the factors identified in section III.D of
 this guidance. If the applicant does not respond to the notification within 30 days, FDA will
 deem the ANDA withdrawn and will notify the applicant of the withdrawal in writing. 11

              B. Failure to Respond to a CRL Within the Extended Time Period Granted by
                 FDA

 If FDA grants the applicant’s request for an extension to respond to a CRL but the applicant fails
 to submit an amendment which addresses all the deficiencies identified in the CRL within the
 extended time period granted by FDA or to request an additional extension, FDA may consider
 this failure to be a request by the applicant to withdraw the ANDA. 12 FDA will notify the
 applicant in writing and the applicant will have 30 days from the date of that notification to (1)
 explain why the ANDA should not be withdrawn and (2) request another extension of time to
 address all deficiencies identified in the CRL. 13 To best facilitate FDA’s consideration of the
 reasonableness of the request under 21 CFR 314.110(c), we recommend that the applicant
 provide the information described in section III.C of this guidance. If the applicant does not
 respond to the notification within 30 days, FDA will deem the ANDA withdrawn and notify the
 applicant of the withdrawal in writing. 14

              C. Submission of a Request for an Extension to Respond to a CRL

 Applicants should submit a request for an extension to respond to a CRL via an amendment to
 their ANDA. We recommend that a request address the following issues:

        •     A justification or reason as to why the applicant needs additional time to respond to the
              CRL. The justification should include:


 9
     21 CFR 314.110(b)-(c).
 10
      21 CFR 314.110(c)(2).
 11
      Ibid.
 12
      21 CFR 314.110(c)(1).
 13
      21 CFR 314.110(c)(2).
 14
      Ibid.



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Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 49 of 70 PageID #: 13408




                   Exhibit H
Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 50 of 70 PageID #: 13409




 GDUFA REAUTHORIZATION PERFORMANCE GOALS AND PROGRAM
 ENHANCEMENTS FISCAL YEARS 2018-2022

    I. SUBMISSION REVIEW PERFORMANCE GOALS

       A. Original ANDAs and ANDA Amendments

       B. PASs and PAS Amendments

       C. Unsolicited ANDA and PAS Amendments

       D. DMFs

       E. Controlled Correspondence

       F. GDUFA I Bridging

    II. ORIGINAL ANDA REVIEW PROGRAM ENHANCEMENTS

       A. ANDA Receipt

       B. ANDA Review Transparency and Communications Enhancements

       C. Review Classification Changes During the Review Cycle

       D. ANDA Approval and Tentative Approval

       E. Dispute Resolution

       F. Other ANDA Review Program Aspirations

    III. PRE-ANDA PROGRAM AND SUBSEQUENT MID-REVIEW-CYCLE MEETINGS
           FOR COMPLEX PRODUCTS

       A. Rationale for Pre-ANDA Program, Guidance on Enhanced Pathway for Complex
          Products

       B. Controlled Correspondence

       C. Product-Specific Guidance

       D. Product Development Meetings

       E. Pre-Submission Meetings

       F. Inactive Ingredient Database Enhancements
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Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 51 of 70 PageID #: 13410




              submits a Pre-Submission Facility Correspondence 2 months prior to the date of
              amendment submission and the Pre-Submission Facility Correspondence is found
              to be complete and accurate and remains unChanged.

           c. Review and act on priority major ANDA amendments within 10 months of
              amendment submission if (i) preapproval inspection is required and (ii) the
              applicant does not submit a Pre-Submission Facility Correspondence 2 months
              prior to amendment submission, or facility information Changes or is found to be
              incomplete or inaccurate.

       5. Review and act on 90 percent of standard and priority minor ANDA amendments
          within 3 months of the date of amendment submission.

                     Table for Section I(A)(1) and (2): Original ANDAs

 Submission Type                         Goal
 Standard Original ANDAs                 90% within 10 months of submission date.

 Priority Original ANDAs                 90% within 8 months of submission date if applicant
                                         meets requirements under I(A)(2)(a).
                                         90% within 10 months of submission date if applicant
                                         does not meet requirements as described under
                                         I(A)(2)(b).

                    Table for Section I(A)(3) – (5): ANDA Amendments

 Submission Type                  Goal
 Standard Major ANDA Amendments 90% within 8 months of submission date if
                                  preapproval inspection not required.
                                  90% within 10 months of submission date if
                                  preapproval inspection required.
 Priority Major ANDA Amendments   90% within 6 months of submission date if
                                  preapproval inspection not required.
                                  90% within 8 months of submission date if
                                  preapproval inspection required and applicant meets
                                  requirements under I(A)(4)(b).
                                  90% within 10 months of submission date if
                                  preapproval inspection required and applicant does not
                                  meet requirements as described under I(A)(4)(c).
 Standard and Priority Minor ANDA 90% within 3 months of submission date.
 Amendments

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Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 52 of 70 PageID #: 13411




                   Exhibit I
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                   Exhibit J
Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 57 of 70 PageID #: 13416




    BakerHostetler                                                    Baker&Hostetler LLP
                                                                       Washington Square, Suite 1100
                                                                       1050 Connecticut Avenue, N.W.
                                                                       Washington, DC 20036-5304
    December 28, 2020                                                  T 202.861.1500
                                                                       F 202.861.1783
                                                                       www.bakerlaw.com
                                                                       Lance L. Shea
                                                                       direct dial: 202.861. I 648
                                                                       Ishea@bakerlaw.com




    Division of Dockets Management
    Food and Drug Administration
    Department of Health and Human Services
    5630 Fishers Lane, rm. 1061
    Rockville, MD 20852

           Re: Salix Pharmaceuticals, Inc. Citizen Petition

    To Whom It May Concern:

    On behalf of Salix Pharmaceuticals, Inc. ("Salix"), we submit the attached citizen petition
    requesting that the Commissioner of the United States Food and Drug Administration
    refrain from approving any abbreviated new drug application submitted under section
    505G) of the Federal Food, Drug, and Cosmetic Act, 21 U.S.C. § 355G), referencing any
    strength of Xifaxan® as the reference listed drug, unless such approval is in full
    accordance with the actions requested in the petition.

    This petition is a new filing, separate and distinct from Salix's citizen petitions assigned
    docket FDA-2008-P-0300-0001 (filed on May 15, 2008) and FDA-2016-P-3418-0001
    (filed on Oct. 17, 2016).

    This petition is being submitted under section 505 of the Federal Food, Drug, and
    Cosmetic Act, 21 U.S.C. § 355, and in accordance with 21 C.F.R. § 10.30. In order to
    protect confidential trade secret information addressed by 21 C.F.R. § 20.61 , this
    redacted version of the petition is being filed along with publicly available references,
    initially. Once FDA acknowledges receipt of the petition and provides a docket number,
    Salix will submit a non-redacted, confidential version of the petition and a full set of
    references.
Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 58 of 70 PageID #: 13417

                    CONFIDENTIAL - TRADE SECRET INFORMATION


    Should you have any questions regarding this petition, please do not hesitate to contact
    the undersigned.
Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 59 of 70 PageID #: 13418

                    CONFIDENTIAL - TRADE SECRET INFORMATION




                                     CITIZEN PETITION

 The undersigned submits this petition under section 505 of the Federal Food, Drug, and
 Cosmetic Act to request the Commissioner of Food and Drugs to refrain from approving any
 abbreviated new drug application submitted under section 505(j) of the Federal Food, Drug, and
 Cosmetic Act referencing any strength of Xifaxan® as the reference listed drug, unless such
 approval is in full accordance with the actions requested herein.




                                   Salix Pharmaceuticals, Inc.


                                       December 28, 2020
Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 60 of 70 PageID #: 13419

                       CONFIDENTIAL - TRADE SECRET INFORMATION


                                            TABLE OF CONTENTS

    I.     Actions Requested .......................................................................................... 1

    II.    Executive Summary ....................................................................................... 2

    Ill.   Statement of Legal Grounds ......................................................................... 5

           A.        To be approved under FDCA Section 505(j), a Proposed Generic
                     must be proven therapeutically equivalent to Xifaxan ................... 5

           B.        The bioequivalence requirement must be met for approval of
                     Proposed Generics ............................................................................. 6

           C.        The pharmaceutical equivalence (active ingredient sameness)
                     requirement must be met for approval of Proposed Generics .... 10

     IV.   Statement of Technical Grounds ................................................................ 12

           A.        No methodology exists to reliably measure or estimate the rate at,
                     or extent to which dissolved rifaximin from a Proposed Generic
                     will become available at topical sites of action .............................. 12

           B.                                                  Redacted                                                 ..... 12

           C.                                                   Redacted

                                                                      ........................................................ 16

           D.                                                     Redacted
                                                                                                             ................ 18

           E.                                                     Redacted

                                          ..................................................................................... 19

                      1.                                                Redacted
                                                                    .......................................................... 19

                      2.                                            Redacted

                                                             ................................................................. 20

                      3.                                                 Redacted
                                                                                                                              21

                      4.                                                 Redacted
Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 61 of 70 PageID #: 13420

                  CONFIDENTIAL - TRADE SECRET INFORMATION


                                                              Redacted
                                                                                                      ................. 21

                5.                                               Redacted
                                                                                                           ............ 25

          F.    The recommendations made by the Draft Gnidance on Rifaximin
                will not ensure that any Proposed Generic is bioequivalent to
                Xifaxan .............................................................................................. 25

                1.         The recommendations made by the Draft Guidance on
                           Rifaximin .............................................................................. 25

                2.         The Recommended PK Studies must be revised ............... 27

                           a)         The Recommended PK Studies cannot provide
                                      meaningful evidence about the rate at, or extent to
                                      which dissolved rifaximin from a Proposed Generic
                                      will become available at topical sites of action ...... 27

                           b)                                           Redacted




                                                           .............................................................. 28

                 3.        The Recommended IVD Methods must be revised ........... 32

                           a)                                      Redacted

                                                                                                               ........ 32

                           b)         No current IVD methodology has been
                                      demonstrated to simulate in vivo dissolution
                                      conditions in the GI tract........................................ 32

                                      (1)        The Recommended IVD Methods have not
                                                 been demonstrated to simulate in vivo
                                                 dissolution conditions in the GI tract......... 32

                                      (2)                                     Redacted

                                                                                             ........................... 33

                           c)                                             Redacted

                                                                                                           ............. 33



                                                            11
Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 62 of 70 PageID #: 13421

                 CONFIDENTIAL-TRADE SECRET INFORMATION


                            (1)                       Redacted

                                                                                       .............. 33

                            (2)                       Redacted



                                         .......................................................... 34

                            (3)                           Redacted

                                             ......................................................... 34

                            (4)                           Redacted



                                              ........................................................ 36

                      d)                                Redacted



                                                                    .................................. 38

                            (1)                           Redacted
                                         ........................................................... 38

                            (2)                            Redacted



                                                                                           .......... 38

                            (3)                              Redacted
                                                                                               ..... 39

                            (4)                         Redacted




                                             .......................................................... 39

                            (5)                               Redacted

                                                                                   ................... 40

                            (6)                           Redacted



                                                                                          ............ 41


                                       111
Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 63 of 70 PageID #: 13422

                 CONFIDENTIAL - TRADE SECRET INFORMATION


                      e)                                 Redacted




                                                          .............................................. 44

                            (1)                             Redacted




                                                                          ............................. 44

                            (2)                             Redacted




                                                                  ...................................... 44

                            (3)                             Redacted




                                                                                         .....•..•..•.. 46

                4.    The Recommended CEBE Studies must be revised .......... 47

                      a)    Alone, the Recommended CEBE Studies will not
                            provide evidence sufficient for approval of a
                            Proposed Generic ..................................................... 47

                            (1)       CEBE studies do not measure
                                      bioequivalence directly ................................ 47

                             (2)     CEBE studies are the least sensitive
                                     methodology for estimating the rate at, and
                                     extent to which dissolved rifaximin from a
                                     Proposed Generic will become available at
                                     Xifaxan's topical sites of action .................. 47

                             (3)                            Redacted



                                                                         ........•...........•..•..•.... 49



                                              lV
Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 64 of 70 PageID #: 13423

                           CONFIDENTIAL-TRADE SECRET INFORMATION


                                                           (a)                 Redacted               .......................... 51

                                                           (b)                     Redacted                   .................. 52

                                                           (c)                           Redacted
                                                                                    ............................................. 53

                                     b)         The biowaiver of a CEBE study for Xifaxan 200
                                                Tablets offered by the Draft Guidance on Rifaximin
                                                cannot be allowed            Redacted



                                                                   ............................................................... 54

               G.         The Draft Guidance on Rifaximin must ensure that Proposed
                          Generics provide Xifaxan's full therapeutic effect strength for
                          each indication, especially the HE indication: a CEBE study for
                          the HE indication is necessary for approval of a Proposed
                          Generic .............................................................................................. 54

                          1.         Therapeutic effect strength for each Xifaxan indication
                                     must be ensured .................................................................... 55

                          2.         A CEBE study for the HE indication is necessary for
                                     Proposed Generics that do not have the Xifaxan
                                     Polymorph Profile, as well as those that contain excipients
                                     that are not Ql/Q2 equivalent to those in Xifaxan ........... 56

               H.         If the GI lumen is over- or under-dosed with rifaximin by a
                          Proposed Generic, the risk of antibiotic resistance will be
                          increased ........................................................................................... 58

     V.        Conclusion: The Draft Guidance on Rifaximin must be revised as
               requested by this petition ........................................................................... 60

     VI.       Environmental Impact ................................................................................. 61

     VII.      Economic Impact ......................................................................................... 61

     VIII. Certification .................................................................................................. 61




                                                                      V
Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 65 of 70 PageID #: 13424

                  CONFIDENTIAL - TRADE SECRET INFORMATION


                                  LIST OF TABLES

     Table 1:                                  Redacted



     Table 2:      Option I Testing

     Table 3:      Option 2 Testing

     Table 4:                              Redacted

     Table 5:                                     Redacted



     Table 6:                            Redacted

     Table 7:                                    Redacted



                                        Redacted
     Table 8:

                                      Redacted
     Table 9:


     Table 10:                             Redacted
                            "

     Table 11:     Hypothetical Range ofBioequivalence Assessments in CEBE
                   Studies: Travelers' Diarrhea

      Table 12:    Hypothetical Range ofBioequivalence Assessments in CEBE
                   Studies: Hepatic Encephalopathy

      Table 13:     Hypothetical Range ofBioequivalence Assessments in CEBE
                    Studies: Irritable Bowel Syndrome with Diarrhea




                                          Vl
Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 66 of 70 PageID #: 13425

                  CONFIDENTIAL-TRADE SECRET INFORMATION


                               LIST OF FIGURES

     Figure 1:                       Redacted

     Figure 2:                               Redacted



     Figure 3:                           Redacted



     Figure 4:                               Redacted




     Figure 5:                            Redacted




     Figure 6:                         Redacted

     Figure 7:                               Redacted



     Figure 8:                                Redacted



     Figure 9:                               Redacted



     Figure 10:                              Redacted



     Figure 11:                              Redacted




     Figure 12:                                 Redacted




     Figure 13:                               Redacted




                                       Vll
Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 67 of 70 PageID #: 13426

                  CONFIDENTIAL - TRADE SECRET INFORMATION


     Figure 14:                             Redacted




     Figure 15:                               Redacted



     Figure 16:                               Redacted



     Figure 17:                            Redacted



     Figure 18:    Graphical Overview ofBioequivalence Assessment Scenarios in
                   CEBE Studies.

     Figure 19:                         Redacted




                                         vm
Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22 Page 68 of 70 PageID #: 13427




                   Exhibit K
0120133436789                                                        Page 69 of 70 PageID #: 13428
                           Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22




       NEWS ROOM
       News Releases
       Bausch Health Provides Update Following Oral Order in XIFAXAN® Patent
       Litigation
      JULY 28, 2022


      -- Company to Appeal Expected Court Decision on Certain XIFAXAN® Patents-


      LAVAL, Quebec, July 28, 2022 /PR Newswire/ -- Bausch Health Companies Inc. (NYSE/TSX: BHC), and its
      gastroenterology business Salix Pharmaceuticals, today announced the U.S. District Court of Delaware issued an
      Oral Order in the matter of Salix Pharmaceuticals, Ltd. et al v. Norwich Pharmaceuticals, Inc. regarding the
      infringement and validity of certain U.S. Patents protecting the composition and use of XIFAXAN® (rifaximin) 550
      mg tablets for the treatment of irritable bowel syndrome with diarrhea (IBS-D) and reduction in risk of overt
      hepatic encephalopathy (HE) recurrence.


      The Oral Order indicates that the Court will find certain U.S. Patents protecting the use of XIFAXAN® (rifaximin) 550
      mg tablets for the reduction in risk of HE recurrence valid and infringed and U.S. Patents protecting the
      composition, and use of XIFAXAN® for treating IBS-D invalid. While the Court has not yet entered any final
      judgement, absent Norwich's removal of the HE indication and data from their Abbreviated New Drug Application

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0120133436789                                                        Page 70 of 70 PageID #: 13429
                           Case 1:20-cv-00430-RGA Document 203 Filed 08/26/22
      {ANDA), it is expected that the Court will enjoin Norwich's pending ANDA until expiration of the XIFAXAN® HE
      Patents in 2029. The Company intends to vigorously oppose any attempt by Norwich to remove the HE safety data
      from its ANDA in an effort to avoid the XIFAXAN® HE Patents.


      The FDA has stated that they plan to make a major revision to the rifaximin product specific guidance to add an in
      vivo bioequivalency study. Until an approval of a revised AN DA is granted by the FDA and the expected injunction
      modified by the Court, Norwich is not permitted to launch a generic equivalent ofXIFAXAN®.


      When the Court enters a final order, Bausch Health will consider all available options to vigorously defend the
      intellectual property protecting XIFAXAN® and will appeal the Court's decision to the U.S. Court of Appeals for the
      Federal Circuit.


      "We are disappointed with today's development. We strongly disagree with any conclusion that our patents are not
      valid and intend to file an appeal to any such order," Thomas J. Appia, CEO, Bausch Health, said. "As a leader in
      gastrointestinal health, protecting our intellectual property is essential to our ability to continue to develop
      innovative therapies. We intend to vigorously pursue all available options to challenge any final ruling, while also
      continuing to drive growth and innovation for our XIFAXAN® franchise."


      Bausch Health has previously entered into settlement agreements with Teva, Sun Pharmaceuticals, and Sandoz to
      permit a generic rifaximin product entry in 2028 or upon an earlier approval and launch of a generic rifaximin
      product. Until, and if, Norwich secures FDA approval for its generic rifaximin product and subsequently launches a
      generic rifaximin product, Teva, Sun Pharmaceuticals, and Sandoz will not be permitted to launch a generic version
      of XIFAXAN® tablets before 2028.


      The Company intends to file an appeal immediately after any final order is issued, assuming it is consistent with
      the Oral Order.

      About XIFAXAN

      XIFAXAN® (rifaximin) 550 mg tablets are indicated for the reduction in risk of overt hepatic encephalopathy (HE)
      recurrence in adults and for the treatment of irritable bowel syndrome with diarrhea {IBS-D) in adults.
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